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                                 UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEW JERSEY
                                    MINUTES OF PROCEEDINGS
                                VIA VIDEO/TELEPHONE CONFERENCE


OFFICE: NEWARK                                              DATE: July 28, 2021
JUDGE KEVIN MCNULTY
COURT REPORTER: Rhea C. Villanti

TITLE OF CASE:                                              DOCKET # 2:21-cr-585 (KM)
UNITED STATES OF AMERICA
        vs.
KEITH RICHTER
            DEFT. PRESENT

APPEARANCES:

Samantha C. Fasanello, AUSA for the Government
James R. Froccaro, Jr., Esq. for Defendant
Observers viewing.

Nature of Proceedings: PLEA HEARING ON INFORMATION

Defendant consents to proceed via video/telephone conference.
Defendant consents to electronic signature on the record.
Defendant advised of rights.
Ordered defendant sworn; defendant affirmed.
PLEA: GUILTY to Count 1 of Information.
Terms of plea agreement read into the record.
Ordered plea agreement approved.
Ordered guilty plea conditionally accepted.
Waiver of Indictment, Rule 11 form and Plea Agreement submitted for filing.
Ordered sentencing date set for December 3, 2021 at 10:00 AM
Ordered defendant remanded.

Time Commenced: 12:30
Time Adjourned: 1:15
Total Time: 45 Minutes


                                                                   Nitza Creegan
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